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  14

  15                                  UNITED STATES DISTRICT COURT
  16                                 CENTRAL DISTRICT OF CALIFORNIA
  17                                       WESTERN DIVISION
  18    THIMES SOLUTIONS INC.,                      Case No: 2:19-cv-10374-PA (Ex)
  19                    Plaintiff,                  Hon. Percy Anderson
  20               v.                               DEFENDANTS’ JOINT NOTICE OF
                                                    MOTION AND MOTION TO DISMISS
  21    TP LINK USA CORPORATION, et al.             AND/OR STRIKE SECOND AMENDED
                                                    COMPLAINT; MEMORANDUM OF
  22                    Defendants.                 POINTS AND AUTHORITIES IN
                                                    SUPPORT THEREOF
  23
                                                    Fed. R. Civ. P. 12 and Cal. Code Civ. P.
  24                                                425.16
  25
                                                    Hearing Date:     March 9, 2020
  26                                                Hearing Time:     1:30 p.m.
                                                    Courtroom:        Courtroom 9A
  27
                                                    SAC Filed: January 13, 2020
  28



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   1               TO THE COURT, ALL PARTIES AND THEIR COUNSEL HEREIN:
   2               PLEASE TAKE NOTICE that on March 9, 2020 at 1:30 p.m., or as soon
   3    thereafter as the matter may be heard, in Courtroom 9A before the Honorable Percy
   4    Anderson of the United States District Court for the Central District of California, located
   5    at 350 W. 1st Street, Los Angeles, California. Defendants TP Link USA Corporation
   6    (“TP-Link”) and Auction Brothers, Inc. d/b/a Amazzia (“Amazzia”), will move and
   7    hereby do move this Court, pursuant to Federal Rule of Civil Procedure (“FRCP”)
   8    12(b)(6) and California Code of Civil Procedure (“CCP”) § 425.16, for an Order
   9    dismissing each of the claims asserted and/or striking the state law claims asserted in the
  10    Second Amended Complaint filed by Thimes Solutions, Inc. (“Plaintiff”) on January 13,
  11    2020, Dkt. No. 78.
  12               Specifically, Defendants seek an order:
  13               (1) Dismissing Plaintiff’s trade libel claim pursuant to FRCP 12(b)(6) for failing to
  14    plead facts sufficient to demonstrate: (i) any allegedly libelous statement made by
  15    Defendants; (ii) the falsity of any statements made by Defendants; (iii) that Defendants
  16    acted with actual malice; and (iv) causation; and on the separate grounds that Defendants’
  17    statements are protected under the Noerr-Pennington doctrine;
  18               (2) Dismissing Plaintiff’s tortious interference claim pursuant to FRCP 12(b)(6) for
  19    failing to plead facts sufficient to demonstrate: (i) an independently wrongful act; and (ii)
  20    causation; and on the separate grounds that Defendants’ statements are protected under
  21    the Noerr-Pennington doctrine;
  22               (3) Dismissing Plaintiff’s antitrust claim pursuant to FRCP 12(b)(6) on the grounds
  23    that: (i) it is barred by the Noerr-Pennington doctrine; (ii) Plaintiff fails to identify a
  24    vertical agreement between entities at different levels of a supply chain or a horizontal
  25    agreement among competitors; and (iii) the per se claims are foreclosed by Supreme
  26    Court precedent;
  27               (4) Dismissing Plaintiff’s declaratory judgment claim pursuant to FRCP 12(b)(6)
  28    on the grounds that: (i) it is barred by the Noerr-Pennington doctrine; (ii) there is no case
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   1    or controversy warranting the Court’s declaratory judgment jurisdiction; and (iii) Plaintiff
   2    has failed to plead facts sufficient to establish that it has not engaged in trademark
   3    infringement; and
   4               (5) Striking Plaintiff’s trade libel and tortious interference claims pursuant to
   5    California’s anti-SLAPP statute, CCP § 425.16(a), because: (i) the claims arise from
   6    activity protected by the anti-SLAPP statute; and (ii) Plaintiff cannot establish a
   7    probability of prevailing on its claims because (a) Plaintiff fails to state claims for relief;
   8    (b) such conduct is separately protected under the Noerr-Pennington doctrine; and (c)
   9    Defendants’ alleged conduct is protected by California’s litigation privilege.
  10

  11               PLEASE TAKE FURTHER NOTICE that if the Court grants the Motion to
  12    Strike Plaintiff’s claims for trade libel and tortious interference, Defendants will seek
  13    their attorneys’ fees and costs incurred in successfully bringing this Motion, pursuant to
  14    CCP § 425.16(c), by way of separate motion. See Vess v. Ciba-Geigy Corp. USA, 317
  15    F.3d 1097, 1109 (9th Cir. 2003); Martin v. Inland Empire Utilities Agency, 198 Cal. App.
  16    4th 611, 631 (2011).
  17

  18               This Motion is based upon this Notice of Motion; the attached Memorandum of
  19    Points and Authorities; the Proposed Order filed and submitted concurrently herewith;
  20    and upon such oral or documentary evidence or testimony that may be presented to this
  21    Court at or before the hearing on this Motion.
  22    ///
  23    ///
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   1                                      Compliance with Local Rule 7-3
   2               The Motion is made following the conference of counsel pursuant to Local Rule 7-
   3    3, which took place on Thursday, January 30, 2019.
   4

   5
                   DATED: February 6, 2020         FOLEY & LARDNER LLP
   6

   7                                               /s/Stephen R. Smerek
                                                   Stephen R Smerek
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  12                                                CLEMENT & GEORGE LLP
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                                                   /s/Andrew M. Cummings
  14                                               Alton G. Burkhalter
                                                   Andrew M. Cummings
  15                                               BURKHALTER KESSLER
                                                     CLEMENT & GEORGE LLP
  16                                               Attorneys for Defendant
  17                                               Auction Brothers, Inc.

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   1    I.         INTRODUCTION
   2               Plaintiff Thimes Solutions Inc. has conceded that it is not an authorized
   3    distributor of TP Link USA Corporation’s products. (Dkt. 78, Second Amended
   4    Complaint (“SAC”) at ¶ 37).) And, the SAC is devoid of any facts that would
   5    establish that, as an unauthorized distributor, Plaintiff’s TP-Link branded products
   6    were genuine products that conveyed the full bundle of rights to consumers, including
   7    the original manufacturer’s warranty rights.        Thus, the SAC itself confirms that
   8    Defendants had a good faith basis to raise concerns with Amazon that the TP-Link
   9    branded products sold by Plaintiff are counterfeit goods, materially different from
  10    genuine TP-Link products. See HM Elecs., Inc. v. R.F. Techs., Inc., No. 12-cv-2884-
  11    MMA-WMC, 2013 WL 12074966, at *3 (S.D. Cal. Oct. 3, 2013). As such, Plaintiff
  12    has failed to sufficiently plead that Defendants’ alleged complaints to Amazon
  13    regarding Plaintiff’s infringement of TP-Link’s trademarks were wrongful, and each
  14    of Plaintiff’s claims fail for this reason alone.
  15               Each of Plaintiff’s substantive claims fail for several separate, additional
  16    reasons. Plaintiff’s claim for trade libel also fails because Plaintiff has not pleaded
  17    facts to establish that Defendants acted with malice or that Defendants’ alleged
  18    statements caused Plaintiff to be expelled from Amazon. Likewise, Plaintiff’s claim
  19    for tortious interference with business relationships also fails because Plaintiff has
  20    failed to adequately plead that Defendants’ alleged complaints were the proximate
  21    cause of Plaintiff’s expulsion. Plaintiff’s antitrust claim fails because the facts alleged
  22    fail to establish any wrongful conduct under Section 1 of the Sherman Act, including
  23    conspiring with Amazzia. Plaintiff has also failed to allege facts to establish a per se
  24    violation of antitrust laws, which requires a horizontal relationship between TP-Link
  25    and Amazzia.
  26               Plaintiff’s declaratory judgment action for noninfringement of TP-Link’s
  27    trademark rights must also be dismissed because there is no actual continuing case or
  28    controversy at issue at this time. Plaintiff has not alleged any facts whatsoever that
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   1    indicate that it is currently selling TP-Link branded products or that it will do so
   2    imminently. This claim also fails for the independent reason that Plaintiff has not
   3    pleaded facts sufficient to establish that its TP-Link branded products are genuine.
   4               Finally, the Court should strike Plaintiff’s trade libel and tortious interference
   5    claims pursuant to California Code of Civil Procedure (“CCP”) § 425.16 –
   6    California’s “anti-SLAPP” statute.          Under the anti-SLAPP statute, Defendants’
   7    alleged misconduct in making complaints to Amazon is protected activity. Moreover,
   8    Plaintiff cannot demonstrate a likelihood of success on the merits of its claims because
   9    1) Plaintiff has failed to allege the elements of the claims asserted; 2) the statements
  10    are protected under the Noerr-Pennington doctrine as constitutionally protected
  11    petitioning activity; and 3) the litigation privilege absolutely protects the alleged
  12    conduct and bars Plaintiff’s state law claims.
  13    II.        BACKGROUND
  14               A.    Plaintiff’s Unauthorized Sale of TP-Link Branded Products
  15               Plaintiff became a third-party seller on the Amazon.com, Inc. marketplace in
  16    2016 and “signed Amazon’s standard Business Solutions Agreement that, among
  17    other things, allowed Amazon to terminate [Plaintiff] as a seller for any reason or for
  18    no reason at all.” (SAC at ¶ 6.) Plaintiff sold TP-Link branded products on Amazon,
  19    despite its own admission that it is not an authorized TP-Link distributor. (Id. ¶ 37
  20    ([Plaintiff] was not an ‘unauthorized seller’ except in the commonly-understood sense
  21    that it was not specifically authorized under any distributorship agreement (or similar
  22    agreement) by TP-Link to purchase TP-Link products directly from TP-Link and
  23    thereafter resell such products.”).) Plaintiff provides no factual allegations regarding
  24    the identity of the source of the purported TP-Link branded products at issue here that
  25    would demonstrate the genuineness of Plaintiff’s TP-Link branded products.
  26               B.    Defendants’ Monitoring of Unauthorized Sales
  27               TP-Link is a California corporation with its principal place of business in Brea,
  28    California. (SAC at ¶ 16.) TP-Link imports and sells various networking products
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   1    through its network of authorized retailers and distributors. (Id. at ¶¶ 14-15.) TP-
   2    Link’s products are “available at substantially all major electronics retails, online and
   3    in-store.” (Id. at ¶ 15.) TP-Link has contracted with a company called Amazzia to
   4    monitor unauthorized sales of its products on Amazon. (Id. at ¶ 20.) Amazzia
   5    monitors certain TP-Link products based on the Amazon Standard Identification
   6    Number (“ASIN”). (Id. at ¶ 25.) When Amazzia identifies unauthorized resellers
   7    using the ASIN in a confusing manner that would suggest the resellers are authorized
   8    distributors, Amazzia completes a complaint form on Amazon to report such activity.
   9    (Id. at n.5 and ¶ 25.)
  10               C.    Amazzia Notifies Amazon about Potentially Infringing Sales
  11               Plaintiff alleges that beginning on January 19, 2018, Amazzia, on behalf of TP-
  12    Link, sent 28 complaints to Amazon. (Id. at ¶¶ 18, 28.) Plaintiff makes a conclusory
  13    statement summarizing the alleged substance of those complaints, without identifying
  14    any of the individual communications or providing any details, other than that the
  15    complaints “all or substantially all [] alleged counterfeiting.” (Id. at ¶ 28.) Amazon’s
  16    “IP complaints are prepared with an online system that does not provide the
  17    complainant with a completed copy … Amazon provides the accused with an edited
  18    and redacted version of the allegations … The entire text of the allegations and the
  19    signature of the person or entity who filed the complaint are not disclosed.” (Id. at n.
  20    5.) Upon receiving notice from Amazon of Defendants’ alleged complaints, Plaintiff
  21    emailed Defendants on January 19, 2018 that the “items were purchased from a
  22    reputable distributor and are not counterfeit.” (Id. at ¶ 42.) Plaintiff does not allege
  23    that it provided any further information about the authenticity of its products.
  24               D.    Plaintiff Files Suit Rather Than Providing Proof of Authenticity
  25               Plaintiff received numerous notices from Amazon which state: (1) “We
  26    received a report from a rights owner concerning the authenticity of the products listed
  27    at end of this email;” (2) “If you believe that the reported content is authentic, you
  28    may email notice-dispute@amazon.com with proof of authenticity. This includes, but
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   1    is not limited to, an invoice or Order ID;” and (3) “We consider allegations of
   2    intellectual property infringement a serious matter. If we receive more complaints
   3    about your listings, we may not allow you to sell on Amazon.com. To learn more
   4    about this policy, search for ‘Intellectual Property Violations’ in Seller Central Help.”
   5    (Id., Exs. 8.1-8.4 (emphasis added).) Plaintiff does not allege that it provided any
   6    proof of authenticity to Amazon before it was expelled, instead alleging that “[d]uring
   7    this litigation [Plaintiff] has disclosed its sources of product to TP-Link.” (Id. at ¶ 43
   8    (emphasis added).) Amazon first suspended Plaintiff, with appeal rights, on May 7,
   9    2018 (id. at ¶ 45) and permanently expelled Plaintiff from its platform without appeal
  10    rights on August 27, 2018 (id. at ¶ 47). Plaintiff further alleges that, “Amazon is
  11    generally permitted to unilaterally restrict any seller from competing in the
  12    Marketplace and take such other unilateral actions as Amazon in its business judgment
  13    deems appropriate.” (Id. at ¶ 77.)
  14               On May 29, 2018, Plaintiff filed its initial Complaint against Defendants in the
  15    Southern District of New York. The case was transferred to the Central District of
  16    California on December 10, 2019. (Dkt. 52.) After the case was dismissed for lack of
  17    subject matter jurisdiction, Plaintiff filed its Second Amended Complaint on January
  18    13, 2020, reasserting claims for libel, tortious interference, and declaratory judgment,
  19    and adding an entirely new claim for per se violation of antitrust laws. (Dkt. 78.)
  20    III.       LEGAL STANDARDS
  21               A.    12(b)(6) Legal Standard
  22               Under Fed. R. Civ. P. 12(b)(6), a claim should be dismissed if the complaint
  23    “fail[s] to state a claim upon which relief can be granted.” To state a claim for relief
  24    that is facially plausible, a plaintiff must plead factual content that “allows the court to
  25    draw the reasonable inference that the defendant is liable for the misconduct alleged.”
  26    Ashcroft v. Iqbal, 556 U.S. 662, 686 (2009). “[W]hen the allegations in a complaint,
  27    however true, could not raise a claim of entitlement to relief, this basic deficiency
  28    should . . . be exposed at the point of minimum expenditure of time and money by the
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   1    parties and the court.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007) (internal
   2    quotations omitted). “Pleadings that contain nothing more than legal conclusions or ‘a
   3    formulaic recitation of the element of a cause of action’ are insufficient.”       Fontana
   4    Fasteners, Inc. v. Foremost Threaded Prods., No. ED CV 16-846-SJO(AJWx), 2016
   5    WL 9459245, at *1 (quoting Iqbal, 556 U.S. at 678).
   6               B.    California Anti-SLAPP Legal Standard
   7               California’s anti-SLAPP statute provides a special motion to strike a complaint
   8    or claim where the alleged conduct arises from activity exercising the rights of
   9    petition or free speech.        Cal. Civ. Proc. Code (“CCP”) § 425.16(b)(1); Mindy
  10    Cosmetics, Inc. v. Dakar, 611 F.3d 590, 595 (9th Cir. 2010) (“The statute was
  11    designed to allow courts ‘to promptly expose and dismiss meritless and harassing
  12    claims seeking to chill protected expression.’” (citation omitted)). The California
  13    Legislature unambiguously directed that the statute “shall be construed broadly.” See
  14    CCP § 425.16(a)); see also Briggs v. Eden Council for Hope & Opportunity, 19 Cal.
  15    4th 1106, 1121-22 (1999); Mindy Cosmetics, 611 F.3d at 595. Thus, the broad reach
  16    of the anti-SLAPP statute applies to all “causes of action, regardless of the underlying
  17    theories of recovery, insofar as they are based on an act in furtherance of the
  18    defendant’s right of petition or free speech.” Vogel v. Felice, 127 Cal. App. 4th 1006,
  19    1016 (2005) (internal quotation and citation omitted). CCP § 425.16(e) lists four
  20    categories of protected activity, including “any written or oral statement or writing
  21    made in connection with an issue under consideration or review by a legislative,
  22    executive, or judicial body, or any other official proceeding authorized by law….”
  23               California’s anti-SLAPP statute applies in Federal court actions when state law
  24    governs the claims asserted—i.e., in diversity jurisdiction cases such as this. See
  25    Hilton v. Hallmark Cards, 599 F.3d 894, 900 n.2 (9th Cir. 2010) (“[W]e have long
  26    held that the anti-SLAPP statute applies to state law claims that federal courts hear
  27    pursuant to their diversity jurisdiction.”). Federal courts interpreting anti-SLAPP
  28
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   1    motions are bound by the decisions of the California Supreme Court interpreting
   2    California law. Id.
   3               Courts follow a two-step process in considering an anti-SLAPP motion. First,
   4    the court determines whether the defendant has made a threshold showing that the
   5    lawsuit arises from “protected activity” covered by the anti-SLAPP statute.             See
   6    Jarrow Formulas, Inc. v. LaMarche, 31 Cal. 4th 728, 733 (2003); Navellier v. Stetten,
   7    29 Cal. 4th 82, 89 (2002). However, the moving defendant does not have to prove,
   8    and a court does not consider: (1) plaintiff’s intent in filing the lawsuit in which the
   9    special motion to strike is filed (see Roberts v. Los Angeles County Bar Assn., 105
  10    Cal. App. 4th 604, 615, (2003); Mindy, 611 F. 3d at 595); or (2) any effects the statute
  11    may have on a plaintiff if the special motion to strike is granted (see ARP Pharmacy
  12    Services, Inc. v. Gallagher Bassett Services, Inc., 138 Cal. App. 4th 1307, 1323
  13    (2006), disapproved on other grounds, Beeman v. Anthem Prescription Mgmt., LLC,
  14    58 Cal. 4th 329, 364 (2013)). The moving party’s burden is “only to make a prima
  15    facie showing of protected activity, which is ‘not an onerous one.’” See Tensor Law
  16    P.C. v. Rubin, No. 2:18-cv-01490-SVW-SK, 2019 WL 3249595, at *4 (C.D. Cal. Apr.
  17    10, 2019) (quoting Okorie v. L.A. Unified Sch. Dist., 14 Cal. App. 5th 574, 590
  18    (2017)).
  19               Second, if the defendant satisfied its initial burden, the burden shifts to the
  20    plaintiff to establish “a probability [of] prevail[ing] on the claim.”             CCP §
  21    425.16(b)(1). Where, as here, “an anti-SLAPP motion to strike challenges only the
  22    legal sufficiency of a claim, a district court should apply the [FRCP] 12(b)(6) standard
  23    and consider whether a claim is properly stated.” Planned Parenthood Fed’n of Am.,
  24    Inc. v. Ctr. for Med. Progress, 890 F.3d 828, 834 (9th Cir. 2018), amended, 897 F.3d
  25    1224 (9th Cir. 2018). The plaintiff must also overcome substantive defenses, such as
  26    litigation privilege, to meet its burden of establishing a probability of success.
  27    Sparrow LLC v. Edwin Lora, No. 14-cv-1188-MWF (JCx), 2014 WL 12573525, at *5
  28    (C.D. Cal. Dec. 4, 2014); see Flatley v. Mauro, 39 Cal.4th 299, 323 (2002).
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   1    IV.        ARGUMENT
   2               A.    Plaintiff Has Failed to Sufficiently Plead a Claim for Relief,
   3                     Warranting Dismissal of All Claims Pursuant to 12(b)(6)
   4                     1.    The Facts Pleaded Do Not Establish the Necessary Elements of
   5                           Trade Libel
   6               To plead a valid claim for trade libel, Plaintiff must allege facts sufficient to
   7    demonstrate that: “(1) Defendants published false statements concerning the quality of
   8    Plaintiff’s product; (2) the statements induced others not to deal with Plaintiff[]; and
   9    (3) special damages.” Vondran v. McLinn, 1995 U.S. Dist. LEXIS 21974, at *14
  10    (N.D. Cal. July 5, 1995) (citing Aetna Casualty & Surety Co. v. Centennial Ins. Co.,
  11    838 F.2d 346, 351 (9th Cir. 1988)). Further, Plaintiff must show that the statement
  12    was “made with actual malice, that is, with knowledge it was false or with reckless
  13    disregard for whether it was true or false.” J-M Manufacturing Co., Inc. v. Phillips &
  14    Cohen LLP, 247 Cal. App. 4th 87, 97 (2016). Trade libel claims are subject to Rule
  15    9(b)’s heightened pleading requirements. First Advantage Background Servs. Corp. v.
  16    Private Eyes, Inc., 569 F. Supp. 2d 929, 937 (N.D. Cal. 2008).
  17                           a.     Plaintiff has failed to plead with requisite particularity,
  18                                  any allegedly libelous statement by Defendants
  19               To satisfy Rule 9(b)’s heightened pleading standards, Plaintiff must, at a
  20    minimum, identify the author or speaker, recipient, time, location, and substance of
  21    each allegedly libelous statement. Id; Eldorado Stone, LLC v. Renaissance Stone,
  22    Inc., No. 04cv2562 JM (LSP), 2005 U.S. Dist. LEXIS 45237, at *10-11 (S.D. Cal.
  23    Aug. 9, 2005). Here, Plaintiff’s allegations are deficient in nearly every respect.
  24               Plaintiff has failed to specifically identify the required details, including the
  25    author or speaker of each allegedly libelous statement. The SAC only generally
  26    alleges that TP-Link and Amazzia “published written complaints to Amazon, libelous
  27    per se, charging Plaintiff with at least 28 instances of infringing TP-Link intellectual
  28    property….” (SAC at ¶ 18.) This is not a sufficiently specific identification of the
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   1    author or speaker of each statement. Thus, Plaintiff’s claim for trade libel fails for this
   2    reason alone. See First Advantage, 569 F. Supp. 2d at 937 (“Nothing in the First
   3    Amended Counterclaim gives any indication of who from First Advantage made the
   4    allegedly libelous statements, to whom they made those statements, when they made
   5    the statements, or what exactly they said. … This alone is sufficient basis to grant the
   6    motion.”)
   7               Plaintiff has also failed to identify the substance of any allegedly libelous
   8    statements by Defendants. Plaintiff only generally alleges that Defendants “published
   9    written complaints to Amazon, libelous per se,” but does not identify the particular
  10    words or statements complained of. (Id. at ¶ 18.) In fact, Plaintiff fails to articulate
  11    the content of any statements by Defendants, libelous or otherwise, beyond asserting
  12    generally that Defendants “complained to Amazon on at least 28 separate occasions,
  13    all or substantially all of which alleged counterfeiting.” (Id. at ¶ 28.) In effect,
  14    Plaintiff seeks to build a trade libel claim on what Plaintiff believes Defendants may
  15    have stated. Plaintiff admits that it does not know exactly what statements Defendants
  16    allegedly made to Amazon. (Id. at n. 5 (Amazon’s “IP complaints are prepared with
  17    an online system that does not provide the complainant with a completed copy …
  18    Amazon provides the accused with an edited and redacted version of the allegations
  19    … The entire text of the allegations and the signature of the person or entity who
  20    filed the complaint are not disclosed.” (emphasis added)).)             Thus, in merely
  21    summarizing the general content of Defendants’ alleged statements, Plaintiff has
  22    failed to plead, with sufficient particularity, the substance of any allegedly libelous
  23    statements, and consequently, a claim for trade libel.          Moreover, because any
  24    intellectual property complaint is premised on the fact that Plaintiff is not an
  25    authorized distributor is demonstrably true based on Plaintiff’s own allegations, this
  26    failure to specify the actual statements made to Amazon undercuts the heart of
  27    Plaintiff’s claims.
  28
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   1                           b.     The SAC fails to allege facts sufficient to show the falsity
   2                                  of TP-Link’s allegedly fraudulent statements
   3               Plaintiff has also separately failed to allege facts sufficient to establish the
   4    falsity of any alleged statements made by Defendants. The SAC contains only general
   5    and conclusory allegations regarding the falsity of Defendants’ complaints to
   6    Amazon, including vague and repetitive assertions that Defendants published
   7    “libelous” complaints and “fraudulent IP complaints.” (SAC at ¶¶ 5, 18, 19.) While,
   8    Plaintiff alleges that it purchased TP-Link products from “a reputable supplier,” and
   9    pleads the legal conclusion that the products are “authentic and not counterfeit,”
  10    Plaintiff fails to allege sufficient facts to establish that the products themselves are
  11    genuine. (Id. at ¶¶ 27, 42.) Purchasing from “a reputable supplier” that only the
  12    Plaintiff uses and knows does not demonstrate that the products are genuine. If the
  13    “reputable supplier” is not an authorized reseller, it is unclear how the supplier
  14    obtained its products or whether the products were even obtained legally. Plaintiff
  15    alleges that “[d]uring this litigation [Plaintiff] has disclosed its sources of product to
  16    TP-Link,” but fails to allege the identity of the “source” and has not pleaded that the
  17    source was an authorized distributor. (Id. at ¶ 43.)
  18               Further, as noted above, Plaintiff’s allegations establish that it is not an
  19    authorized reseller of TP-Link products (id. at ¶ 37), and the SAC does not plead any
  20    facts to establish that products sold by Plaintiff include the full bundle of rights
  21    associated with genuine TP-Link products, including the original manufacturer’s
  22    warranty. Thus, the facts pleaded in the SAC fail to demonstrate that the products
  23    sold by Plaintiff are not counterfeit products, materially different from those sold by
  24    authorized distributors. HM Elecs., Inc. v. R.F. Techs., Inc., No. 12-cv-2884-MMA-
  25    WMC, 2013 WL 12074966, at *3 (S.D. Cal. Oct. 3, 2013) (“Differences in warranties
  26    or services accompanying a trademarked product may constitute material
  27    differences.”).       The sale of materially different products constitutes trademark
  28    counterfeiting. See, e.g., Rolex Watch, U.S.A., Inc. v. Michel Co., 179 F.3d 704, 707-
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   1    10 (9th Cir. 1999) (finding “[w]hen an original mark is attached to a product in such a
   2    way as to deceive the public, the product itself becomes a ‘counterfeit’ just as it would
   3    if an imitation of the mark were attached”); Harman Int’l Indus. Inc. v. Pro Sounds
   4    Gear, Inc., No. 17-cv-06650-ODW (FFMx), 2018 WL 1989518, at *4 (C.D. Cal. Apr.
   5    24, 2018) (“Because the distinction between using a duplication verses using an
   6    original has no relevance, where, as here, there is deceptive practices so as to create
   7    consumer confusion, the product itself becomes a counterfeit.” (internal quotation
   8    marks and alteration omitted)). Accordingly, Plaintiff’s allegations establish that
   9    Defendants had a good faith basis for their alleged complaints to Amazon, and tend to
  10    demonstrate that Plaintiff did engage in counterfeiting and trademark infringement.
  11    Because Plaintiff has failed to allege the falsity of Defendants’ allegedly libelous
  12    statements, Plaintiff’s trade libel claim should be dismissed.
  13                           c.     Plaintiff does not sufficiently allege that Defendants
  14                                  made any statements with actual malice
  15               The facts pleaded in the SAC fail to establish that Defendants acted with actual
  16    malice in making any statements to Amazon. Rather, as demonstrated above, the facts
  17    pleaded affirmatively establish a reasonable and good faith basis for believing
  18    Plaintiff’s TP-Link branded products were counterfeit. Plaintiff admits in its SAC that
  19    it is not an authorized reseller of TP-Link products. (SAC at ¶ 37.) There are no
  20    allegations that this fact was ever disclosed to Plaintiff’s customers. Thus, customers
  21    would not know that products purchased from Plaintiff are not covered by the original
  22    manufacturer’s warranty. As discussed above, supra § IV.A.1.b., this difference in
  23    warranty protection constitutes a material difference under the Lanham Act, rendering
  24    the products “counterfeit.” See HM Elecs., 2013 WL 12074966, at *3; Rolex Watch,
  25    179 F.3d at 707-10. This demonstrates that Defendants did not act with malice in
  26    submitting the alleged complaints to Amazon. Because Plaintiff is not an authorized
  27    reseller, it was reasonable for Defendants to conclude that Plaintiff’s products do not
  28    carry the original manufacturer’s warranty, regardless of who Plaintiff obtained the
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   1    products from.          The SAC establishes that Defendants acted upon a genuine and
   2    reasonable belief, which is also supported by case law, that Plaintiff’s products were
   3    counterfeit.          Because Plaintiff has pleaded facts that affirmatively establish a
   4    reasonable and good faith basis for Defendants’ alleged complaints, Plaintiff has
   5    failed to establish actual malice and Plaintiff’s trade libel claim should be dismissed.
   6                              d.    The Facts Alleged Do Not Establish Causation
   7               To plead a claim for trade libel, Plaintiff must plead facts sufficient to show a
   8    statement that “would be clearly or necessarily understood to have disparaged the
   9    quality” of a plaintiff’s product or service; “a statement that was untrue”; defendant’s
  10    knowledge that the statement was untrue or reckless disregard of truth; reliance by a
  11    third party; and causation. See Judicial Council of California Civil Jury Instructions
  12    (2017), CACI No. 1731 (emphasis added).                Plaintiff has failed to allege facts
  13    sufficient to show that Defendants’ alleged statements to Amazon caused Plaintiff to
  14    be expelled from Amazon.             Rather, as alleged in the SAC, Amazon raised the
  15    concerns with Plaintiff and evaluated the claims through a process that included
  16    giving Plaintiff an opportunity to provide proof of authenticity. Plaintiff admits that
  17    after Amazon received Defendants’ alleged complaints, it sent an email to Plaintiff,
  18    indicating that Plaintiff could provide authenticity of its products (SAC, Exs. 8.1-8.4),
  19    and that before Plaintiff was expelled, it was suspended with appeal rights (id. at ¶
  20    45). In sum, the SAC makes clear that Plaintiff was expressly provided with the
  21    opportunity to show it was selling authentic product, and Plaintiff was only expelled
  22    when it was unable to do so. Thus, Plaintiff’s damages, if any, were caused by its
  23    own failure to demonstrate to Amazon that the products it was selling were not
  24    counterfeit or came with the full bundle of rights included with products sold by
  25    authorized resellers.
  26                     2.       Plaintiff Fails to State a Claim for Tortious Interference
  27               To plead a viable claim for tortious interference with prospective economic
  28    advantage, Plaintiff must allege facts sufficient to show: “(1) [a]n economic
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   1    relationship between the plaintiff and some third party, with the probability of future
   2    economic benefit to the plaintiff; (2) the defendant’s knowledge of the relationship;
   3    (3) intentional acts on the part of the defendant designed to disrupt the relationship (by
   4    an independently wrongful act); (4) actual disruption of the relationship; and (5)
   5    economic harm to the plaintiff proximately caused by the acts of the defendant.”
   6    Youst v. Longo, 43 Cal. 3d 64, 71 n.6 (1987); San Jose Constr., Inc. v. S.B.C.C., Inc.,
   7    155 Cal. App. 4th 1528, 1544 (2007). As to the third element, Plaintiff must show
   8    independently wrongful conduct by Defendants. “An act is independently wrongful if
   9    it is unlawful, that is, if it is proscribed by some constitutional, statutory, regulatory,
  10    common law, or other determinable legal standard . . . . [and the act] must be wrongful
  11    by some legal measure, rather than merely a product of an improper, but lawful,
  12    purpose or motive.” San Jose Constr., 155 Cal. App. 4th at 1544; see also Korea
  13    Supply Co. v. Lockheed Martin Corp., 29 Cal.4th 1134, 1158-59 (2003).
  14                           a.     The facts pleaded do not establish an independently
  15                                  wrongful act designed to disrupt an economic
  16                                  relationship
  17               Plaintiff’s allegations fail to establish legally wrongful conduct by Defendants.
  18    Plaintiff alleges that Defendants’ “accusations of counterfeiting, wrongful per se,
  19    made directly to Amazon, were for the improper purpose of suppressing competition.”
  20    (SAC at ¶ 61.) It is unclear what Plaintiff’s basis is for alleging that Defendants’
  21    alleged statements were wrongful “per se.” Even assuming that Plaintiff has premised
  22    its tortious interference claim on its trade libel and antitrust claim, Plaintiff’s tortious
  23    interference claim fails as a matter of law. As discussed supra § IV.A.1., Plaintiff has
  24    failed to adequately plead a claim for trade libel because it has not identified the
  25    author or speaker, recipient, and location of each allegedly libelous statement by
  26    Defendants, and has not plead facts sufficient to demonstrate the falsity of any alleged
  27    complaints to Amazon. See First Advantage, 569 F. Supp. 2d at 937. As discussed
  28    infra § IV.A.3., Plaintiff has also failed to adequately plead a claim for antitrust
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   1    violations. Because Plaintiff’s trade libel and antitrust claims fail, it cannot identify
   2    any “constitutional, statutory, regulator, common law, or other determinable legal
   3    standard” that Defendants violated. See San Jose Constr., 155 Cal. App. 4th at 1544.
   4               Further, Plaintiff’s allegations confirm that Defendants’ alleged complaints
   5    were not made to wrongfully disrupt Plaintiff’s economic relationship with Amazon
   6    or to suppress competition, but rather, to protect legitimate business interests. TP-
   7    Link imports and sells various networking products, through its network of authorized
   8    retailers and distributors. (SAC at ¶¶ 14-15.) TP-Link is vigilant in preventing
   9    unauthorized sales of its products by retaining third parties to monitor and prevent the
  10    sale of TP-Link’s products “outside TP-Link’s authorized distribution channels.” (Id.
  11    at ¶ 20.) Plaintiff is, by its own admission, not an authorized TP-Link reseller. (Id. at
  12    ¶ 37.) Thus, as explained previously, supra § IV.A.1.b., Defendants had a genuine
  13    belief that Plaintiff’s products were counterfeits due to lack of warranty protection,
  14    and was simply acting to protect its intellectual property interests. Therefore, Plaintiff
  15    has failed to plead facts sufficient to show independently wrongful conduct by TP-
  16    Link or Amazzia and its tortious interference claim should be dismissed.
  17                           b.     The facts pleaded do not establish causation
  18               For the same reasons discussed above, supra § IV.A.1.d., Plaintiff has failed to
  19    allege facts sufficient to show that Defendants’ alleged statements to Amazon caused
  20    it to be expelled from Amazon. Plaintiff had the opportunity to provide proof of
  21    authenticity of its products to Amazon (SAC, Exs. 8.1-8.4) but failed to do so.
  22    Plaintiff’s own failures proximately caused its expulsion from Amazon.
  23                     3.    Plaintiff Fails to State an Antitrust Claim
  24               The gravamen of Plaintiff’s antitrust claim is that TP-Link and Amazzia
  25    conspired to exclude Plaintiff from selling on Amazon. (SAC at ¶¶ 83, 85.) However,
  26    the facts alleged establish that TP-Link and Amazzia were simply acting as a single
  27    entity to protect TP-Link’s intellectual property rights, which is insufficient to form
  28    the basis of an antitrust claim under § 1 of the Sherman Act.
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   1                          a.    The facts alleged fail to establish any wrongful conduct
   2                                within Section 1 of the Sherman Act
   3               “Section 1 of the Sherman Act … reaches unreasonable restraints of trade
   4    effected by a ‘contract, combination … or conspiracy’ between separate entities.”
   5    Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 768 (1984). Section 1 liability
   6    cannot be premised on unilateral conduct. Id. Further, Copperweld’s reasoning has
   7    been applied “to a broad[] variety of economic relationships,” such that “separate
   8    entities with a common economic interest and without divergent interests are
   9    incapable of conspiring for § 1 purposes.” Jack Russell Terrier Network v. Am.
  10    Kennel Club, Inc., 407 F.3d 1027, 1034 (9th Cir. 2005). “The crucial question is
  11    whether the entities alleged to have conspired maintain an ‘economic unity,’ and
  12    whether the entities were either actual or potential competitors.” Id.
  13               The facts alleged by Plaintiff demonstrate that TP-Link and Amazzia
  14    maintained common economic interests, thereby foreclosing a viable Section 1 claim.
  15    Plaintiff alleges that TP-Link “retained Amazzia, to monitor specific TP-Link
  16    products on the Amazon marketplace and do a ‘third-party seller clean up’ of those
  17    selling TP-Link products outside TP-Link’s authorized distribution channels” (SAC at
  18    ¶ 20), and that Amazzia “at all times act[ed] in concert with and on behalf of TP-Link,
  19    and with the latter’s actual authority and instruction” (id. at ¶ 26). These allegations
  20    demonstrate that TP-Link and Amazzia had identical economic interests – protecting
  21    TP-Link’s intellectual property rights.
  22               Further, the SAC is devoid of any allegation that TP-Link and Amazzia are
  23    actual or potential competitors. To the contrary, according to the SAC, TP-Link sells
  24    Wi-Fi products (id. at ¶¶ 13-14), while Amazzia is engaged in brand protection (id. at
  25    ¶¶ 21, 25). TP-Link engaged Amazzia to enforce its intellectual property rights on
  26    Amazon. (Id. at ¶ 25.) There are simply no allegations establishing that TP-Link and
  27    Amazzia are competitors. Accordingly, because Plaintiff’s allegations, even if true,
  28
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   1    fail to establish a violation of Section 1 of the Sherman Act, Plaintiff’s antitrust claim
   2    should be dismissed.
   3                            b.     Plaintiff has failed to plead facts sufficient to show a per
   4                                   se violation of antitrust laws
   5               Plaintiff’s allegations fail to establish a per se violation of antitrust laws. Per se
   6    violations are found in limited circumstances that are “so inherently anticompetitive
   7    that each is illegal per se without inquiry into the harm it has actually caused.”
   8    Copperweld, 467 U.S. at 768. Horizontal agreements, or agreements made among
   9    competitors, that have been found to be per se violations are price fixing, division of
  10    markets, and refusals to deal. In re Musical Instruments & Equip. Antitrust Litig., 798
  11    F.3d 1186, 1191 (9th Cir. 2015).
  12               Although Plaintiff alleges that the “elimination of discounters and discounted
  13    products from access to the Marketplace by joint collaborative action… is a per se
  14    violation of the Sherman Anti-Trust Act” (SAC at ¶ 84), the facts alleged fail to
  15    establish any sort of horizontal relationship between TP-Link and Amazzia that would
  16    qualify as a joint collaborative action. As discussed supra § IV.A.3.a., the SAC is
  17    devoid of any allegations that TP-Link and Amazzia are competitors. Even the case
  18    law cited by Plaintiff involved direct competitors – a group of car dealers
  19    collaborating to exclude discount car dealers. United States v. Gen. Motors Corp.,
  20    384 U.S. 127, 143 (1966). Here, there is only a single entity seeking to enforce its
  21    intellectual property rights by enlisting a brand protection service.
  22               To the extent that Plaintiff bases its claim on a vertical relationship between TP-
  23    Link and Amazzia, Plaintiff has failed to plead facts demonstrating such a vertical
  24    relationship. Vertical agreements are those made up and down the supply chain, such
  25    as between a manufacturer and a retailer. In re Musical, 798 F.3d at 1192. Plaintiff
  26    has not plead any facts suggesting such a relationship between TP-Link and Amazzia.
  27    TP-Link sells Wi-Fi products (id. at ¶¶ 13-14), while Amazzia is engaged in the
  28    separate business of brand protection (id. at ¶¶ 21, 25). Further, even if Plaintiff had
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   1    adequately alleged a vertical relationship, “[v]ertical price restraints are to be judged
   2    according to the rule of reason” and are not per se anticompetitive. Leegin Creative
   3    Leather Products, Inc. v. PSKS, Inc., 551 U.S. 877, 907 (2007). Thus, because
   4    Plaintiff only alleges a per se violation that it has failed to adequately allege,
   5    Plaintiff’s antitrust claim should be dismissed.
   6                     4.    Plaintiff Fails to State a Claim for Declaratory Judgment
   7               Plaintiff’s declaratory judgment claim should be dismissed because it does not
   8    warrant the Court’s discretionary exercise of jurisdiction under the Declaratory
   9    Judgment Act, 28 U.S.C. § 2201(a). The Declaratory Judgment Act does not confer
  10    “an absolute right upon the litigant,” but is “an enabling Act, which confers a
  11    discretion on the courts.” Esposito v. Shultz, 366 F. Supp. 1059, 1062 (N.D. Cal.
  12    1973) (quoting Public Service Commission of Utah v. Wycoff Co., 344 U.S. 237, 241
  13    (1952)); see also O'Hagins, Inc. v. M5 Steel Mfg., Inc., 276 F. Supp. 2d 1020, 1025
  14    (N.D. Cal. 2003) (“Yet even when a court determines that an actual controversy exists
  15    between the parties, the court is not required to exercise declaratory judgment
  16    jurisdiction, but has discretion to decline that jurisdiction.”).
  17                           a.    There is no present case or controversy warranting the
  18                                 Court’s discretion under the Declaratory Judgment Act
  19               To warrant the court’s declaratory judgment discretion, Plaintiff must allege
  20    facts to demonstrate that a “case or controversy” exists. Bayer v. Neiman Marcus
  21    Grp., 861 F.3d 853, 867 (9th Cir. 2017). “A case or controversy exists justifying
  22    declaratory relief only when the challenged . . . activity . . . is not contingent, has not
  23    evaporated or disappeared, and, by its continuing and brooding presence, casts what
  24    may well be a substantial adverse effect on the interests of the . . . parties.” Id.
  25    (internal quotations omitted) (quoting Seven Words LLC v. Network Sols., 260 F.3d
  26    1089, 1098-99 (9th Cir. 2001).
  27               Plaintiff’s claim for declaratory judgement requests a declaration of
  28    noninfringement of TP-Link’s trademark rights. (SAC at ¶¶ 88-92.) However, as an
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   1    initial matter, Plaintiff has not alleged that it would have any inclination to continue
   2    selling TP-Link branded products on Amazon, or that it is currently selling any TP-
   3    Link branded products online. Thus, there is no actual controversy that would be
   4    resolved by a finding that Plaintiff’s sale of TP-Link branded products is
   5    noninfringing. Plaintiff is essentially asking for an advisory opinion for possible
   6    future conduct which it has not alleged any intention of carrying out, or for previous
   7    conduct. “[A] declaratory judgment merely adjudicating past violations of federal law
   8    – as opposed to continuing or future violations of federal law – is not an appropriate
   9    exercise of federal jurisdiction. The value of the judicial pronouncement – what makes
  10    it a proper judicial resolution of a 'case or controversy' rather than an advisory opinion
  11    – is in the settling of some dispute which affects the behavior of the defendant towards
  12    the plaintiff.” Bayer, 861 F.3d at 868 (emphasis in original) (internal citations and
  13    quotations omitted). Any declaratory judgment by this Court of noninfringement
  14    would not affect the behavior of Defendants towards Plaintiff because Plaintiff has not
  15    alleged that it is currently selling TP-Link branded products or that it plans to in the
  16    future. Thus, Plaintiff has failed to allege a present case or controversy warranting
  17    this Court’s declaratory judgment jurisdiction.
  18                           b.    The relevant factors weigh against exercise of
  19                                 jurisdiction
  20               Courts consider several factors in determining whether to exercise discretion
  21    under the Declaratory Judgment Act, including: (1) “avoid[ing] needless
  22    determination of state law issues”; (2) “discourag[ing] litigants from filing declaratory
  23    actions as a means of forum shopping”; (3) “avoid[ing] duplicative litigation”; (4)
  24    "whether the declaratory action will settle all aspects of the controversy”; (5) “whether
  25    the declaratory action will serve a useful purpose in clarifying the legal relations at
  26    issue”; (6) “whether the declaratory action is being sought merely for the purposes of
  27    procedural fencing or to obtain a 'res judicata' advantage”; (7) “whether the use of a
  28    declaratory action will result in entanglement between the federal and state court
                                                            JOINT MOTION TO DISMISS AND/OR STRIKE
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   1    systems”; (8) “the convenience of the parties”; and (9) “the availability and relative
   2    convenience of other remedies.” Gov't Emples. Ins. Co. v. Dizol, 133 F.3d 1220,
   3    1225, n. 5 (9th Cir. 1998).           Here, these factors militate against the Court’s
   4    discretionary exercise of jurisdiction over Plaintiff’s declaratory judgment claim.
   5               A declaratory judgment would not settle all aspects of the controversy or serve
   6    a useful purpose in clarifying the legal relations at issue because Plaintiff’s allegations
   7    concern past conduct that a declaratory judgment of noninfringement would not
   8    resolve. Even if this Court entered a declaratory judgment of noninfringement, such a
   9    ruling would not finally resolve Plaintiff’s trade libel, tortious interference, and
  10    antitrust claims, which require Plaintiff to demonstrate multiple, separate and
  11    additional elements. Plaintiff has not alleged any facts indicating that it is currently
  12    selling TP-Link branded products, or that it plans to in the future, and no legal
  13    relations would be clarified by a declaratory judgment of noninfringement. Therefore,
  14    this Court should decline to exercise its discretion under the Declaratory Judgment
  15    Act to provide Plaintiff with an advisory opinion regarding some speculative potential
  16    future conduct.
  17                           c.     Plaintiff has failed to plead facts sufficient to show that it
  18                                  is entitled to a declaratory judgment of noninfringement
  19               The SAC fails to plead facts sufficient to establish the validity of Plaintiff’s
  20    claim for declaratory judgment of noninfringement for the same reasons that its trade
  21    libel and tortious interference claims fail – Plaintiff has failed to plead facts to
  22    demonstrate that its products are genuine TP-Link products. Plaintiff concedes that it
  23    is not an authorized reseller of TP-Link products. (SAC at ¶ 37.) Thus, the SAC fails
  24    to plead facts demonstrating that Plaintiff’s TP-Link branded products carry the full
  25    bundle of rights that genuine TP-Link products carry, including the original
  26    manufacturer’s warranty. See HM Elecs., 2013 WL 12074966, at *3; Rolex Watch,
  27    U.S.A., 179 F.3d at 707-10. Plaintiff’s sale of materially different products without
  28    any warning to consumers that its products do not convey the full bundle of rights that
                                                              JOINT MOTION TO DISMISS AND/OR STRIKE
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   1    genuine products carry, constitutes trademark infringement. See Rolex Watch, 179
   2    F.3d at 707-10; Harman, 2018 WL 1989518, at *4 (“Because the distinction between
   3    using a duplication verses using an original has no relevance, where, as here, there is
   4    deceptive practices so as to create consumer confusion, the product itself becomes a
   5    counterfeit.” (internal quotation marks and alteration omitted)).         Thus, Plaintiff’s
   6    allegations fail to demonstrate that complaints about Plaintiff’s infringement of TP-
   7    Link’s trademark rights, and Plaintiff’s claim for declaratory judgment of
   8    noninfringement must fail.
   9                     5.    Noerr-Pennington Doctrine
  10               The Noerr-Pennington Doctrine provides a basis separate and apart from the
  11    reasons discussed supra, to dismiss Plaintiff’s SAC in its entirety. The doctrine “bars
  12    any claim, federal or state, common law or statutory, that has as its gravamen
  13    constitutionally-protected petitioning activity.” Gen-Probe, Inc. v. Amoco Corp., Inc.,
  14    926 F. Supp. 948, 956 (S.D. Cal. 1996). This activity includes pre-suit demand letters
  15    and other efforts “to settle legal claims short of filing a lawsuit.” Sosa v. DIRECTV,
  16    Inc., 437 F.3d 923, 929 (9th Cir. 2006). Pre-suit infringement notices to third parties
  17    are also protected. See, e.g., Hard2Find Accessories, Inc. v. Amazon.com, Inc., 691 F.
  18    App’x 406 (9th Cir. 2017) (infringement notice to Amazon protected by Noerr-
  19    Pennington immunity); Rock River Commc’ns., Inc. v. Univ. Music Group, Inc., 745
  20    F.3d 343, 351 (9th Cir. 2014) (infringement notice to accused infringer’s business
  21    partners protected); EcoDisc Tech. AG v. DVD Format/Logo Licensing Corp., 711 F.
  22    Supp. 2d 1074, 1082-83 (C.D. Cal. 2010) (threats warning third parties not to continue
  23    dealing in plaintiff’s non-conforming goods protected); Og Intern., Ltd. v. Ubisoft
  24    Ent., No. 11-cv-04980-CRB, 2012 WL 4809174, at *3 (N.D. Cal. Oct. 9, 2012)
  25    (claims based on letters to third-party distributors dismissed).
  26               The present case is analogous to Hard2Find, where the Ninth Circuit found that
  27    an infringement report to Amazon was protected by Noerr-Pennington immunity. In
  28    Hard2Find, Apple reported to Amazon that Hard2Find was selling counterfeit
                                                             JOINT MOTION TO DISMISS AND/OR STRIKE
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   1    products. Hard2Find, 691 F. App’x at 406-08. Amazon suspended Hard2Find and
   2    Hard2Find then sued Apple for defamation and tortious interference. Id. The Ninth
   3    Circuit affirmed dismissal, holding that “the infringement notice that Apple sent to
   4    Amazon [was] sufficiently related to petitioning conduct protected by the Petition
   5    Clause.” Id. at 407. Like in Hard2Find, Plaintiff alleges that Defendants made
   6    complaints to Amazon of trademark infringement and counterfeiting by Plaintiff.
   7    (SAC at ¶ 18.) As the Ninth Circuit found, these infringement notices are protected
   8    petitioning activity. Thus, Plaintiff’s claims, which all rely on Defendants’ alleged
   9    complaints to Amazon, must be dismissed in their entirety.
  10               Contrary to Plaintiff’s conclusory allegations in its SAC, the “sham” exception
  11    to the Noerr-Pennington doctrine does not apply. To sufficiently allege that the sham
  12    litigation exception applies, Plaintiff must plead facts to establish that 1) Defendants’
  13    petitioning conduct was “objectively baseless” and 2) Defendants’ motive for the
  14    petitioning conduct was unlawful. Sosa, 437 F.3d at 938. Further, sham litigation
  15    allegations must be “plead[ed] with particularity.” Hard2Find, 691 F. App’x at 407;
  16    see Toyo Tire & Rubber Co., Ltd. v. CIA Wheel Group, No. 15-cv-246-JLS (DFMx),
  17    2015 WL 4545187, at *2 (C.D. Cal. July 8, 2015) (“[c]onclusory allegations are not
  18    sufficient to strip a defendant’s activities of Noerr–Pennington protection.” (citation
  19    omitted)).
  20               Plaintiff’s allegations fail to establish both that Defendants’ alleged complaints
  21    were objectively baseless and that Defendants’ motive was unlawful. To the contrary,
  22    and as discussed supra § IV.A.1.b.-c., the facts pleaded indicate that Defendants had
  23    good reason to believe Plaintiff’s products did not carry the full bundle of rights that
  24    genuine TP-Link products carried and that Plaintiff was therefore engaged in
  25    trademark infringement. Plaintiff’s allegations that Defendants made four purchases
  26    and thus should have known that Plaintiff’s products were “authentic[]” (SAC at ¶ 50)
  27    are inapposite and do not change the fact that Plaintiff is an unauthorized reseller (id.
  28    at ¶ 37) that cannot convey the original manufacturer’s warranty. Further, Plaintiff’s
                                                               JOINT MOTION TO DISMISS AND/OR STRIKE
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   1    merits arguments cannot render Defendants’ alleged complaints to Amazon
   2    “objectively baseless.” See Prof’l Real Estate Investors v. Columbia Pictures Indus.,
   3    508 U.S. 49, 60 (1993) (a suit is not objectively baseless if it is “arguably warranted
   4    by existing law or at the very least [is] based on an objectively good faith argument
   5    for the extension, modification, or reversal of existing law”). Defendants had a good
   6    faith belief, based on case law, that Plaintiff was infringing its intellectual property
   7    rights and sought to protect those rights. Thus, Plaintiff has failed to sufficiently
   8    plead that the Noerr-Pennington doctrine’s narrow “sham” exception applies and the
   9    SAC should be dismissed in its entirety.
  10               B.    California’s Anti-SLAPP Statute Precludes Plaintiff’s State Law
  11                     Claims
  12                     1.    Plaintiff’s Trade Libel and Tortious Interference Claims Arise
  13                           From Defendants’ Protected Activity Under § 425.16(e)(2)
  14               Statements made to enforce intellectual property rights, like those allegedly
  15    made by Defendants to Amazon, fall within the protected activity of California’s anti-
  16    SLAPP statute. Under the anti-SLAPP statute, “protected activity” is defined as an
  17    “act in furtherance of a person’s right of petition or free speech under the United
  18    States or California Constitution in connection with a public issue, and includes . . .
  19    any other conduct in furtherance of the exercise of the [aforementioned rights] in
  20    connection with a public issue or an issue of public interest.” CCP § 425.16(e). This
  21    includes “written or oral statements . . . made in connection with an issue under
  22    consideration or review by a [] judicial body.” CCP § 425.16(e)(2). As courts have
  23    stated repeatedly in the context of California’s anti-SLAPP statute, “[r]esort to the
  24    courts is protected activity.” Pistoresi v. Madera Irrigation Dist., 2008 U.S. Dist.
  25    LEXIS 99164, *10 (E.D. Cal. 2008); see also Briggs, 19 Cal. 4th at 1115 (“The
  26    constitutional right to petition . . . . includes the basic act of filing litigation.”). This
  27    encompasses statements and writings made in connection with civil litigation and
  28    “extend[s] to pre-litigation conduct.”          Tensor, 2019 WL 3249595, at *6.
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   1    “[S]tatements made in anticipation of a court action or other official proceeding may
   2    be entitled to protection under the anti-SLAPP statute, provided that the statement
   3    concerns the subject of the dispute and is made in anticipation of litigation
   4    contemplated in good faith and under serious consideration.” Id. (internal citations
   5    omitted) (citing Digerati Holdings, LLC v. Young Money Entm't, LLC, 194 Cal. App.
   6    4th 873, 886-87 (2011).
   7               Here, Plaintiff’s trade libel and tortious interference claims seek redress for
   8    Defendants’ alleged misconduct in making intellectual property complaints to
   9    Amazon. These alleged complaints constitute pre-litigation conduct and are therefore
  10    protected activity under the anti-SLAPP statute. Defendants’ alleged complaints to
  11    Amazon for trademark infringement and counterfeiting (SAC at ¶ 18) are functional
  12    equivalents of cease and desist letters. Defendants discovered that Plaintiff, who was
  13    not an authorized reseller (id. at ¶ 37) was selling TP-Link branded products on
  14    Amazon, without any notice to customers that Plaintiff’s products did not carry the
  15    original manufacturer’s warranty that genuine TP-Link products carry. As discussed
  16    above, supra § IV.A.1.b., this difference in warranty protection constitutes a material
  17    difference under the Lanham Act, rendering the products “counterfeit.” See HM
  18    Elecs., 2013 WL 12074966, at *3; Rolex Watch, 179 F.3d at 707-10.                     Thus,
  19    Defendants’ complaints to Amazon were made in an effort to prevent trademark
  20    infringement by Plaintiff without having to proceed to court. However, because
  21    Amazon removed the infringing products from its website, Defendants did not have to
  22    resort to litigation to protect and enforce TP-Link’s intellectual property rights. Thus,
  23    Defendants’ alleged complaints to Amazon were made in anticipation of litigation and
  24    are considered protected activity under the anti-SLAPP statute.
  25                     2.    Plaintiff Cannot Establish a Probability of Prevailing on Its
  26                           State Law Claims
  27               Because Defendants have made a threshold showing that Plaintiff’s trade libel
  28    and tortious interference claims arise from “protected activity” covered by the anti-
                                                             JOINT MOTION TO DISMISS AND/OR STRIKE
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   1    SLAPP statute, Plaintiff has the burden of establishing “a probability [of] prevail[ing]
   2    on the claim[s].” CCP § 425.16(b)(1).
   3               Plaintiff cannot establish a probability of prevailing on its trade libel and
   4    tortious interference claims because Plaintiff has failed to plead facts sufficient to
   5    establish the elements of the claims. See supra §§ IV.A.1. (“The Facts Pleaded Do
   6    Not Establish the Necessary Elements of Trade Libel”) and IV.A.2. (“Plaintiff Fails to
   7    State a Claim for Tortious Interference”).
   8               The Noerr-Pennington Doctrine, discussed supra § IV.A.5., also provides a
   9    separate basis for finding that Plaintiff cannot establish a probability of prevailing on
  10    its trade libel and tortious interference claims.
  11               Finally, Defendants’ alleged complaints to Amazon are protected by the
  12    California litigation privilege, CCP § 47(b), which is an “absolute” privilege and
  13    forecloses Plaintiff’s trade libel and tortious interference claims. Flatley v. Mauro, 39
  14    Cal.4th at 299, 322 (2006). CCP § 47(b) provides that communications made in or
  15    related to judicial proceedings are immune from tort liability. The litigation privilege
  16    applies to any communications “(1) made in a judicial proceeding; (2) by litigants or
  17    other participants authorized by law; (3) to achieve the objects of the litigation; (4)
  18    that have some connection or logical relation to the action.” Sharper Image Corp. v.
  19    Target Corp., 425 F. Supp. 2d 1056, 1077 (N.D. Cal. 2006) (citations omitted).
  20    Courts have found that the litigation privilege applies “regardless whether the
  21    communication was made with malice or the intent to harm.” Kashian v. Harriman,
  22    98 Cal. App. 4th 892, 913 (2002). California law has expanded the privilege “to
  23    include publication to nonparties with a substantial interest in the proceeding.” Susan
  24    A. v. County of Sonoma, 2 Cal. App. 4th 88, 94 (1991) (citing Costa v. Superior
  25    Court, 157 Cal. App. 3d 673, 678 (1984)).
  26               For the same reasons that Defendants’ alleged complaints to Amazon are
  27    protected as pre-litigation conduct under the anti-SLAPP statute, they are also
  28    protected by California’s absolute litigation privilege. See, e.g., Fitbit, Inc. v. Laguna
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   1    2, LLC, No. 17-cv-00079-EMC, 2018 WL 306724, at *9 (N.D. Cal. Jan. 5, 2018).
   2    (“Because the Court found in Fitbit’s favor on the first part of the anti-SLAPP
   3    analysis . . . Fitbit prevails on the litigation privilege as well.”). Additionally, the fact
   4    that the alleged statements were made to Amazon does not take the statements outside
   5    of the litigation privilege. Amazon has some interest in the litigation because Plaintiff
   6    used the Amazon platform to make its sales of TP-Link branded products and Amazon
   7    made the ultimate decision to expel Plaintiff from selling on its website. (SAC at ¶¶
   8    6, 47.) The litigation privilege is a bar to a party meeting the burden of the second
   9    step of the anti-SLAPP analysis. See, e.g., Sparrow, 2014 WL 12573525, at *5 (“A
  10    plaintiff is unable to meet the statutory burden of section 425.16 as a matter of law
  11    when the statement, publication, or activities at issue are protected by the litigation
  12    privilege of Civil Code § 47.” (alterations omitted)); Kashian, 98 Cal. App. 4th at
  13    926-27 (where defamation action was barred by litigation privilege, the plaintiff could
  14    not demonstrate a probability of prevailing for anti-SLAPP purposes). Thus, because
  15    the litigation privilege applies to Defendants’ alleged statements, Plaintiff cannot
  16    establish a probability of prevailing on its state law claims and TP-Link’s anti-SLAPP
  17    motion should be granted.
  18                     3.    Defendants Are Entitled to Recover the Attorneys’ Fees and
  19                           Costs Associated with the Anti-SLAPP Motion
  20               A defendant who prevails on an anti-SLAPP motion is “entitled to recover . . .
  21    attorney’s fees and costs.” Cal. Code Civ. Proc. § 425.16(c)(1). “An award of
  22    attorney’s fees and costs to a successful anti-SLAPP movant is mandatory.” Kearny
  23    v. Foley & Lardner LLP, et al., 553 F. Supp. 2d 1178, 1181 (S.D. Cal. 2008). “[A]
  24    party who partially prevails on an anti-SLAPP motion must generally be considered a
  25    prevailing party unless the results of the motion were so insignificant that the party
  26    did not achieve any practical benefit from bringing the motion.” Mann v. Quality Old
  27    Time Serv., Inc., 139 Cal. App. 4th 328, 340 (2006). “The determination whether a
  28
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   1    party prevailed on an anti-SLAPP motion lies within the broad discretion of a trial
   2    court.” Id.
   3               Because the gravamen of Plaintiff’s SAC arises from protected activity and
   4    Plaintiff has not demonstrated a probability of success on the merits of any of its state
   5    law claims, Defendants should be awarded their attorneys’ fees and costs associated
   6    with bringing this anti-SLAPP motion to strike. See Mann, 139 Cal. App. 4th at 340.
   7    Accordingly, Defendants respectfully request that, should the Court grant this motion
   8    to strike, Defendants be given an opportunity to provide supplemental briefing by way
   9    of separate motion concerning its attorneys’ fees and costs under CCP § 425.16.
  10    V.         CONCLUSION
  11               For the foregoing reasons, Defendants respectfully request that this Court
  12    dismiss all claims against it pursuant to Rule 12(b)(6) for failure to state claims and/or
  13    strike Plaintiff’s state law claims in their entirety pursuant to CCP § 425.16.
  14               A Proposed Order is filed herewith.
  15
                   DATED: February 6, 2020          FOLEY & LARDNER LLP
  16

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                                                            JOINT MOTION TO DISMISS AND/OR STRIKE
                                                  -25-               CASE NO: 2:19-CV-10374-PA (EX)
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